
USCA1 Opinion

	




          December 29, 1993     [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 93-1531                                              ERIC V. BLEICKEN,                               Plaintiffs, Appellants,                                          v.                            HAROLD PERKINS, ETC., ET AL.,                                Defendants, Appellees.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF NEW HAMPSHIRE                   [Hon. Steven J. McAuliffe, U.S. District Judge]                                              ___________________                                 ___________________                                        Before                                Cyr, Boudin and Stahl,                                   Circuit Judges.                                   ______________                                 ___________________               Eric V. Bleicken on brief pro se.               ________________                                  __________________                                  __________________               Per Curiam.  Pro se plaintiff Eric Bleicken appeals from the               __________   ___ __          dismissal of  his 42  U.S.C.  1983 complaint  for the  failure to          state  a  claim  upon  which relief  can  be  granted.    We have          thoroughly  reviewed the  record  and Bleicken's  submissions  on          appeal.   We affirm the dismissal  for the reasons stated  in the          magistrate  judge's  report  and recommendation  of  February 12,          1993.   We  add  that,  where none  of  the appellant's  prolific          filings demonstrate that he was ever incarcerated for contempt as          a result of  his failure to pay  child support, he has  failed to          state a claim for damages for  violation of his alleged right  to          counsel.  The Supreme Court has stated that "actual imprisonment"          is the "line defining the constitutional right to appointment  of          counsel."   See Scott  v. Illinois, 440  U.S. 367,  373-74 (1979)                      ___ _____     ________          (applying Sixth  and Fourteenth  Amendments in  context of  state          criminal proceeding).  Since Bleicken has not alleged that he was          imprisoned, he has failed to state  a claim for violation of this          right.                 To the  extent the complaint  might be construed to  state a          claim   for   equitable    relief   against   Bleicken's   future          incarceration for  nonsupport absent appointed counsel, the claim          is too  speculative.   Should  Bleicken be  subjected to  further          contempt proceedings for nonsupport, he may assert indigence as a          defense.  If he loses and  is incarcerated, he may appeal to  the          New Hampshire Supreme Court and, if need be, to the Supreme Court          of the United States. See Henkel v. Bradshaw, 483 F.2d 1386, 1390                                ___ ______    ________                                         -2-          (4th Cir. 1973).   If he remains  incarcerated, he may then  seek          federal habeas relief.  Compare Mann v. Hendrian, 871 F.2d 51, 53                                  _______ ____    ________          (7th Cir.  1989)(affirming dismissal of 42 U.S.C.   1983 suit for          declaratory  and injunctive  relief  against state  court judge's          alleged  policy of  refusing  to  appoint  counsel  for  indigent          defendants subject  to contempt  proceedings for  failure to  pay          child support).  However, the  present complaint does not state a          claim  for  injunctive   relief  or  damages  for   violation  of          Bleicken's alleged right to counsel.               Bleicken's remaining claims are too numerous to recount.  By          and large, they allege violations  of state law without reference          to federal rights.  These alleged violations of New Hampshire law          do  not  state  claims for  constitutional  violations actionable          under 42 U.S.C.  1983. See Malachowski v. City of Keene, 787 F.2d                                 ___ ___________    _____________          704,  708 (1st Cir.), cert. denied, 479 U.S. 828 (1986).  Indeed,                                _____ ______          the  complaint  essentially  seeks  relief from  numerous  orders          entered by the New Hampshire superior court in Bleicken's divorce          and  child custody dispute, particularly the child support order.          "It is  crystal  clear  that  we  lack  appellate  or  non-habeas          jurisdiction over  decisions of  the courts  of any  state ....".          Rivera-Puig  v.  Garcia-Rosario, 983  F.2d  311, 317    (1st Cir.          ___________      ______________          1992).  These  asserted claims of error  were properly dismissed.          See Lancellotti v. Fay, 909 F.2d 15, 17 (1st Cir. 1990).          ___ ___________    ___               The  district court did  not specifically address Bleicken's          claim  that   Judges  Perkins,  Morrill   and  Commissioner  King                                         -3-                                          3          conspired  to extort Ellene  Bleicken's share of  the proceeds of          the  sale of  the marital  home to  prevent Bleicken  from hiring          counsel.  Bleicken's complaint also may be construed as  alleging          that all of the  defendants conspired against him as  a result of          "gender   bias"  and  "prosecutorial  vindictiveness."      These          conspiracy   allegations   are   wholly   conclusory   and   thus          insufficient.   See Slotnick v.  Staviskey, 560 F.2d 31,  33 (1st                          ___ ________     _________          Cir. 1977), cert. denied, 434 U.S. 1077 (1978).                      _____ ______               We  also agree  with the  district  court's conclusion  that          defendants  Perkins,  Morrill,  Carlson,  Vaughan  and King  were          entitled  to  absolute  immunity for  their  judicial  and quasi-          judicial acts.  See  Cok v. Cosentino, 876 F.2d 1,  2-3 (1st Cir.                          ___  ___    _________          1989)(per  curiam).   While  Bleicken  has  made  the  conclusory          assertion that certain of the defendant judges knowingly acted in          excess  of their jurisdiction, his factual allegations belie this          assertion and fail to establish  a clear absence of  jurisdiction          sufficient to overcome the defendant judges' immunity.1               Finally,  we reiterate that  this circuit "do[es]  not allow          non-lawyers to represent litigants other than themselves."  Amman                                                                      _____                                        ____________________          1.  To the extent that Bleicken's claim against defendant Vaughan          is predicated on her testimony at the custody hearing, Vaughan is          entitled to  witness immunity.  See Briscoe v.  LaHue,   460 U.S.                                          ___ _______     _____          325, 329 (1983).  And to  the extent Bleicken  seeks to hold  the          chief justices of the  New Hampshire superior and  supreme courts          liable for  the acts  of other justices,  there is  no respondeat          superior   liability  under  42  U.S.C.   1983.    See  Pinto  v.                                                             ___  _____          Nettleship, 737  F.2d 130,  132 (1st  Cir. 1984). These  justices          __________          remain  immune  from   liability  for  the  decisions   of  their          respective courts.                                         -4-                                          4          v.  Stow School  System,,  982  F.2d 644,  648  (1st Cir.  1992).              ____________________          Accordingly, this appeal  has been allowed to proceed  as to Eric          Bleicken  alone.   This  principle  also  supports  the  district          court's  dismissal of Bleicken's equal protection claim on behalf          of his daughter  Maliaka.  Insofar as Bleicken  also purported to          state claims on behalf of his deceased mother and other children,          these claims also were properly dismissed.                               Judgment affirmed.2                                 __________________                                                     ____________________          2.  The appellant's motion to amend his brief is denied.                                         -5-                                          5

